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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

ALVIN BERNAL JACKSON                                                           PETITIONER


                                   No. 5:03-CV-00405 SWW


LARRY NORRIS, Director,
Arkansas Department of Correction,                                            RESPONDENT


                                           JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this petition for writ of habeas corpus be, and it is hereby, dismissed with

prejudice. The relief sought is denied.

       IT IS SO ORDERED THIS 4TH DAY OF JANUARY, 2007.

                                             /s/Susan Webber Wright


                                             UNITED STATES DISTRICT JUDGE
